            Case 4:16-cr-00074-BLW Document 47 Filed 11/03/16 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA
                                                    Case No. 4:16-CR-74-BLW
                Plaintiff,

       v.                                           ORDER

BRYAN JON BECK, CHRISTOPHER
WESTON HUDSON

                Defendants.


       The defendant Hudson has filed a motion to suppress. The motion seeks to

suppress evidence obtained during a traffic stop seach. Accordingly, the motion must be

resolved before trial and there is excludable time between the date of its filing and a

reasonable time for its prompt resolution. See 18 U.S.C. §3161(h)(1)(D); United States v.

Tinklenberg 131 S.Ct. 2007 (2011).

       Trial is presently set for December 12, 2016. But the briefing on the motion to

suppress will not be completed until just prior to that date, and the Court will need to hold

an evidentiary hearing and then make a ruling. The Court could hold a hearing on the

date now set for trial, and render a decision shortly thereafter. That would mean moving

the trial date to January 3, 2017. The Court finds that this is a reasonable time to hear and

resolve the motion.


Order - 1
         Case 4:16-cr-00074-BLW Document 47 Filed 11/03/16 Page 2 of 3




       The Court finds that the period of delay between the filing of the motion to

suppress (docket no. 45) on October 30, 2016, and the prompt disposition of the motion is

excludable time under 18 U.S.C. § 3161(h)(1)(D).

       This new trial date applies to all defendants. Under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of delay when the

defendant is joined for trial with a co-defendant as to whom the time for trial has not run

and no motion for severance has been granted.” Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED, that the present trial date of

December 12, 2016, (and the pretrial conference date of December 1, 2016) is

VACATED, and that a new trial date be set for January 3, 2017, at 1:30 p.m. in the

Federal Courthouse in Poctatello, Idaho. This trial date applies to all defendants.

       IT IS FURTHER ORDERED, that the pretrial conference shall be held on

December 22, 2016, at 4:00 p.m. by telephone with the Government to initiate the call.

The Court can be reached at 208-334-9145. The defendant need not be on the line as only

logistics will be discussed.

       IT IS FURTHER ORDERED, that all pretrial motions shall be filed on or before

December 2, 2016.

       IT IS FURTHER ORDERED, that the period of time between the filing date of the

motion to suppress (docket no. 45) on October 30, 2016, and the prompt disposition of the

motion is excludable time under 18 U.S.C. § 3161(h)(1)(D).


Order - 2
        Case 4:16-cr-00074-BLW Document 47 Filed 11/03/16 Page 3 of 3




      IT IS FURTHER ORDERED, that a hearing shall be held on the motion to

suppress on December 12, 2016, at 9:00 a.m. before Judge Winmill in the Federal

Courthouse in Poctaello, Idaho.


                                       DATED: November 3, 2016



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court




Order - 3
